Case 3:09-cV-OO454-K Document 11 Filed 06/30/10 Page 1 of 2 Page|D 61

IN THE UNiTED STATES D|STR|CT COURT
FOR THE NORTHERN DISTRiCT OF TEXAS
DALL.AS DlVlS|ON

 

PLAsTRONics sc§” ' RTNERs§
\_TD_ §
§
Plaintitf, §
§

vs § civiL AcTiON Nc. 3109~0\/~04544<
§
none v\/EON HWANe AND Hicei\i §
co., i;rr)_ §
§
Defendants. §

MCT|ON FOR ORDER OF D|SM|SSAL WlTHOUT PREJUD|CE

TO THE HONORABLE UNITED STATES DiSTR|CT JUDGE:

Ccmes ncw, Piaintiff Piastrc)nics Socket Partners, Ltd, (hereinatter “Plaintitf”) and
moves the Ceurt for an Order dismissing Plaintiff’s claims in this Cause Without
prejudice, and in support thereof Wc)uid show:

Piaintift and Detendants have discussed the matter and based upon Detendants’
representations Piaintiff believes it is not necessary to continue tc prosecute the matter.
Acccrdingiy, P|aintiff requests the Ccurt to enter an Order dismissing this Acticn Without
prejudice

WHEREFORE, PREM|SES CONSIDERED, Piaintiff requests the Ccurt to enter

an Order dismissing this Action Withc)ut prejudice

STlPULATlON OF D|SM|SSAL W|TH PREJUD|CE
3109066.1/SP/19750/0102/063010

Case 3:09-cv-OO454-K Document 11 Filed 06/30/10 Page 2 of 2 Page|D 62

Respectfu|iy submitted,

/s/ Char/es M. I-losch
CHARLES M. HOSCH
State Bar No. 10026925
LAUREN T. BECKER
State Bar No. 24046983
Strasburger & Price, LLP
901 l\/iain Street, Suite 4400
Da|ias, TX 75202-3794
Te|ephone: (214) 651-4300
Teiecopier: (214) 651-4330

ATTORNEYS FOR PLA|NT|FF
PLASTRON|CS SOCKET P/-\RTNERS, LTD.

CERT|F|CATE OF SERV|CE

This is to certify that a true and correct copy of the above and foregoing
document has been fon/varded via emaii on this the 30th day ot June, 2010 to Dong
Weon Hwang (|ndividua||y and as representative of Hicon Co., Ltd.).

/S/ Char/es M. Hosch
Charies M. Hosch

ST|PULAT|ON OF D|SM|SSAL W|TH PREJUDlCE
3109066`i/SP/19750/0102/063010

